        Case: 3:24-cv-00404-wmc             Document #: 16          Filed: 02/20/25       Page 1 of 4



                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WISCONSIN

    ROBERT HUBER, individually, and on behalf of
    all others similarly situated,                                    Case No.:24-cv-0404

                  Plaintiff,

          v.

    JARED HOY, in his official capacity as Secretary
    of the Wisconsin Department of Corrections and
    GARY BOUGHTON, in his official capacity as
    Warden of the Wisconsin Secure Program
    Facility,

                  Defendants.


                PLAINTIFF’S MOTION AND REQUEST FOR THE COURT TO
                 SCREEN THE COMPLAINT AS SOON AS PRACTICABLE


         NOW COMES Plaintiff, Robert Huber, an inmate at Wisconsin Secure Program

Facility in Boscobel, Wisconsin, by his attorneys, Cade Law Group LLC, on behalf of himself

and all other prisoners similarly situated, and requests the following relief: for the Court to

screen the Complaint, Dkt. 1, “as soon as practicable.” See 28 U.S.C. § 1915A(a).1

                                                    FACTS

         1.     Plaintiff filed his Complaint on June 15, 2024. Dkt. 1.

         2.     The named defendants were served with the Complaint on June 24 and 28,

2024, respectively. Dkt. 10 and 11.

         3.     Notice of Appearances on behalf of both named defendants were filed by

attorneys with the Wisconsin Department of Justice on July 1, 2024. Dkt. 5 and 6.


1
 “The court shall review, before docketing, if feasible or, in any event, as soon as practicable after docketing,
a complaint in a civil action in which a prisoner seeks redress from a governmental entity or officer or employee
of a governmental entity.”
      Case: 3:24-cv-00404-wmc        Document #: 16      Filed: 02/20/25    Page 2 of 4



       4.     Defendants moved on July 1, 2024 to have the Complaint screened and

stayed. Dkt. 7.

       5.     This Court granted the motion to stay on July 12, 2024. Dkt. 13.

Thus, the Complaint has been pending screening since July 12, 2024, or 223 days.

                                        ARGUMENT

       Here, the allegations are not the type that require immediate relief, such as a medical

emergency, as noted in Wheeler v. Wexford Health Sources, Inc., 689 F.3d 680, 681 (7th

Cir. 2012), but the allegations, as alleged in the Complaint, continue to be a “serious ongoing

injury.” Id., 689 F.3d at 682. More specifically, Plaintiff Huber has alleged an ongoing injury

with regards to possession of personal property (a tablet) that the Wisconsin Department of

Corrections no longer supports, and is also taking away possession of the “old tablets” in

order to issue “new tablets” to inmates. The new tablets do not support the content or prior

purchase of the old tablets, and thus, despite promises that once content “is purchased, [an

inmate] will always own it!”, that is not the case, especially where inmates are not permitted

to keep the old tablets in their cells. See, e.g., Dkt. 1 (Complaint), at ¶¶ 34-39. Nor can the

content already purchased be utilized by any other persons who are not incarcerated. Dkt.

1 (Complaint), at ¶¶ 51-52. And, at the time of filing of the Complaint, only a handful of

prisons within the State of Wisconsin prison system had switched over to the new tablets.

Upon information and belief, all of the prisons now have switched over to the new tablets.

This means, as alleged in the Complaint, that all DOC inmates, to the extent they owned an

old tablet and had purchased media content such as music, games and books, no longer

have possession of their old tablets and such tablets are no longer supported to use by

anyone.




                                              2                                              2
          Case: 3:24-cv-00404-wmc             Document #: 16         Filed: 02/20/25       Page 3 of 4



          Moreover, counsel for Huber has received from over 300 DOC inmates 2 various

inquiries and forms seeking to not only participate in this class action lawsuit, with purchased

content amounts ranging from $50 to in excess of $5000, but almost a daily barrage of

inquiries as to the status of the case.

          Importantly, for purposes of screening, Plaintiff Huber has complied with all of his

grievance obligations. See Dkt. 8-2.

          In Wheeler, the Seventh Circuit noted that a ten month delay in screening a complaint

“exceeds any understanding of ‘as soon as practicable.’ Delay is especially hard to

understand when the complaint plausibly alleges a serious ongoing injury.” Wheeler, 689

F.3d at 682. While the motion to screen has been pending in excess of seven months, far

less than the individual defendant in Wheeler, it is important to note that the Court already

has granted Defendants’ motion for 60 days to respond to any order to do so, if the

Complaint survives screening. So, at a minimum, this matter really will be at the nine month

mark, if not longer.

          The undersigned also is keenly aware and cognizant that the Court has a very busy

docket, and does not wish to add to an overburdened judiciary. But, as Judge Stadtmueller

noted in Grady v. State of Wisconsin, 2022 WL 60632, at *1 (E.D. Wis. Jan. 6, 2022)(and

collecting other cases), it makes little sense from a policy rationale to screen complaints

where counsel is representing a plaintiff, and thus is bound to a lawyer’s obligation to the

court and Rule 11 of the Federal Rules of Civil Procedure. Here, there are only three causes

of action; a 5th Amendment Takings claim, a substantive due process claim under the 14 th

Amendment, and a conversion claim, which are all types of claims that the Court, as well as

the attorneys, likely have dealt with numerous times.



2
    If the Court requests the identity or names of the various inmates, counsel can file the document under seal.
                                                        3                                                      3
      Case: 3:24-cv-00404-wmc         Document #: 16      Filed: 02/20/25    Page 4 of 4



         In short, this case is ready to be screened so that the case can move to the discovery

phase. The harm to and injury suffered by Plaintiff Huber, and the other inmates, continues

to grow every day this case waits to be screened, and the number of individuals harmed

grows.

         WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated, that

this Court screen this matter as soon as practicable.

         Dated this 20th day of February, 2025.

                                                   CADE LAW GROUP LLC

                                              By: s/Nathaniel Cade, Jr.
                                                  Nathaniel Cade, Jr., SBN 1028115
                                                  Antonique C. Williams, SBN 1051850
                                                  Annalisa Pusick, SBN 1116379
                                                  Madison Bedder, SBN 1121996
                                                  P.O. Box 170887
                                                  Milwaukee, WI 53217
                                                  (414) 255-3802 (phone)
                                                  (414) 255-3804 (fax)
                                                  nate@cade-law.com
                                                  antonique@cade-law.com
                                                  annalisa@cade-law.com
                                                  madison@cade-law.com




                                               4                                              4
